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                             UN ITED STA TES D ISTRICT COU RT
                             SOU TH ERN D ISTRICT OF FLO RIDA

                               Case N o.18-80109-CR-Rosenberg


 UN ITED STATES OF A M ERICA ,                                             FILED Ly            D,C.

                                                                              Ad6 1ù 2213
 JOHN JO SEPH O 'GRAD Y ,                                                      STEVEN M LARIMORE
                                                                               CLERKuà Dlsr.c'
                                                                                             c
                                                                               s.D,oFFtâ,-w.RB.
               D efendant.
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                     BO ND REV O CA TIO N A N D D ETEN TIO N O R DE R

        This cause com es before the Courtupon a Petition for A ction on Conditions of Pretrial

 Release (DE 261.On August 10,2018,the undersigned issued an arrestwarrantgDE 331for
 DefendantJOHN JOSEPH O'GRADY baseduponthePetition gDE 26J.TheDefendantappeared
 forhis firstappearance on thePetition before United StatesM agistrate Judge BruceE.R einharton

 August13,2018.Atthe A ugust13,2018 hearing,D efendantw aived hisbond revocation hearing

 and stipulated to detention.Based upon the allegations contained in the Petition for A ction on

 Conditions on Pretrial Release (DE 261 and in U.S. Probation's Violation of Probation
 M emorandum, as well Defendant's waiver of a bond revocation hearing and stipulation to

 detention,the Courtorders thatDefendant'sbond be revoked pursuantto 18 U.S.C.j 3148.
 Further,theCourtfindsthatDefendantm ustbedetainedashe isa dangerto thecom munity and a

 seriousriskofflightornonappearancepursuantto 18U.S.C.j3142.
        Accordingly,itis hereby O RD ER ED thatD efendantbe com m itted to the custody of the

 Atlorney G eneralforcontinem entin a corrections facility separate,to the extentpracticable,from

 persons aw aiting or serving sentences orbeing held in custody pending appeal.This Courtalso
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 directs thatD efendantbe afforded reasonable opportunity forprivate consultation with counsel;

 and the Courtdirectsthat,on orderofa courtofthe United Statesor on requestofan attom ey for

 the Govem m ent,the person in charge ofthe corrections facility in w hich Defendant is confined

 deliverDefendantto a United StatesM arshalforthe purpose ofan appearance in connection w ith

 a courtproceeding.

        DO N E and O R DER ED in Cham bers atW est Palm Beach,Palm Beach County,in the

 Southem DistrictofFlorida,this /Y dayofAugust,2018.


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                                            W ILLIA M M A TT EW M A N
                                            UN ITED STATES M A G ISTM TE JU D GE
